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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-2022V
                                        UNPUBLISHED


    ERIC KURTZ, M.D.,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: September 27, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Timothy J. Mason, Law Office of Sylvia Chin-Caplan, LLC, White Plains, NY, for
Petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On December 31, 2019, Eric Kurtz, M.D. filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a should injury related to vaccine
administration (SIRVA) as a result of an influenza (flu) vaccine that he received on
September 12, 2018. Petition at 1. Petitioner further alleges that the vaccine was
administered in the United States, the residual effects or sequelae of Petitioner’s shoulder
injuries have persisted for more than six months, and no lawsuits have been filed or
settlements or awards accepted by anyone, including the Petitioner, due to his vaccine
injury. Petition at 10. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On September 17, 2021, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent has concluded that compensation is appropriate
because Petitioner meets the criteria for a presumed SIRVA, as defined by the Vaccine
Injury Table. Id. at 3. Respondent further agrees that the scope of damages to be awarded
are limited to Petitioner’s left-sided SIRVA and its resulting sequelae only. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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